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                                         CERTIFICATION

   I, Daniel R. Benson, hereby certify that:

       1.      I am a member in good standing of the bar in every jurisdiction in which I have

been admitted to practice. I have been admitted to practice in the following jurisdictions:

                   i. State

                                Appellate Division of the Supreme Court of the State of New
                                 York, First Judicial Department (Admitted: 3/16/81; Registration #
                                 1712223)

                  ii. Federal

                                U.S. District Court, Southern District of New York (Admitted:
                                 5/12/81; Bar #: DB6587)
                                U.S. District Court, Eastern District of New York (Admitted:
                                 5/12/1981)
                                U.S. District Court, Colorado (Admitted: 8/1/2001)
                                U.S. Court of Appeals, Second Circuit (Admitted: 6/12/2010)
                                U.S. Court of Appeals, Third Circuit (Admitted: 10/7/1993)
                                U.S. Court of Appeals, D.C. Circuit (Admitted: 2/15/2018; Bar #:
                                 60845)
                                U.S. Supreme Court (Admitted: 1/9/2006; Bar #: 257718)

       2.      There are no disciplinary proceedings pending against me as a member of the bar

in any jurisdiction, and I have not previously had a pro hac vice admission to this court revoked.

       3.      I am familiar with the Local Rules of the United States District Court for the

District of Massachusetts.

Dated: January 15, 2024                                /s/ Daniel R. Benson
                                                       Daniel R. Benson
                                                       KASOWITZ BENSON TORRES LLP
                                                       1633 Broadway
                                                       New York, New York 10019
                                                       (212) 5016-1700
                                                       dbenson@kasowitz.com




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